Case 2:04-Cr-20017-BBD Document 340 Filed 05/27/05 Page 1 of 5 Page|D 696

 

IN THE UNITED sTATEs DISTRICT coURT ;‘1;\.,:5¢%...._0-€-
FoR THE wEsTERN DISTRICT oF TENNESSEE
WESTERN DIVISION OBHQYZT PM 3:§2
H&r -1;HY%T
UNITED sTATES oF AMERICA, `B§L§r-zz(<h:‘:_"--)li-.;_?_`l- ‘~:?V§§}.FH,'S

Plaintiff,

vs. NO. 04-20017 D/V
RANDE LAZAR, M.D., d/b/a
OTOLARYNGOLOGY
CONSULTANTS OF MEMPHIS,

v\._n'~._¢\_¢\_¢\\_¢*~_/v-._d~_¢~._¢

Defendant.

 

ORDER ON DEFENDANT'S MOTION FOR A HEARING IN COURT TO DETERMINE
HOW THE GOVERNMENT KNEW THE CONTENTS OF THE DEFENDANT’S SEALED
FILING OF MARCH 26, 2004 PRIO TO ITS UNSEALING

 

On October 7, 2004, the defendant, Rande Lazar, filed a motion
for a hearing in open court to determine whether, prior to its
unsealing, the prosecution knew that the defendant's sealed ex
parte motion filed on March 26, 2004 (Doc. No. 22 and 23) raised
concerns about potential witness intimidation. The United States
did not oppose this motion and the motion was granted by this court
on October 27, 2004. On May 25, 2005, a hearing was held before
the undersigned United States Magistrate Judge.

In Lazar’s March 26, 2004 sealed nwtion, he identifies a
potential physician witness. He raises concerns that the
government may try to intimidate that physician based on documented

statements by the prosecution to Lazar’s former attorney. In the

Thls document entered on the docket shea o la
with Ru|e 55 and/or 32(b) FRCrP on

 

Case 2:04-Cr-20017-BBD Document 340 Filed 05/27/05 Page 2 of 5 Page|D 697

present motion, Lazar contends that the United States described
the concerns expressed by him in his ex_parte motion in the United
States’ motion to unseal, filed September 17, 2004 (Doc. No. 97).
According to Lazar, the prosecution moved to unseal the ex parte
motion based on the very contents of the ex parte motion.

Lazar alleges that the United States has violated the Fifth
and Sixth Amendment by improperly interfering with a defendant's
ability to build a defense and by improperly obtaining privileged
information about his defense strategy, plan, or communications.
Lazar requested a determination of whether the prosecution (l) has
been conducting improper surveillance of the defense's privileged
attorney-client communications via telephone or internet; (2) has
an informant working with the defense who has been sharing
confidential information with the government; or (3) has improper
contacts with members of the clerk's office, the court's staff, or
the magistrate judge’s staff concerning the sealed filings.

At the hearing, Assistant United States Attorney Kevin
Whitmore gave an explanation as to how the government was aware of
the contents of the sealed motion. Whitmore explained that the
first time that the sealed motion was brought to the United States'
attention was during a June 23, 2004 status conference held before
District Judge Bernice Donald. During that proceeding, defense

counsel made a statement that there “maybe an ex parte nmtion

Case 2:04-Cr-20017-BBD Document 340 Filed 05/27/05 Page 3 of 5 Page|D 698

pending.” (Court Exhibit l). The next indication that the
defendant had filed an ex parte motion concerning witness
intimidation came in the defendant's August 27, 2004 motion for the
disclosure of all exculpatory evidence (Doc. No. 75). In that
motion. Lazar refers to his ex parte motion at page 4, footnote l,
stating that “[t]he attached material is filed under seal to
protect the witnesses involved from possible retaliation at his
point.”

Thereafter, on September 17, 2004, the United States filed a
motion to compel all ex parte documents. Judge Donald entered an
order directing the court clerk to provide all ex parte motions to
the United States. (Doc. No. 104, Court Exhibit 2). The United
States presented the order to the court clerk, and the clerk
provided the United States with all the ex parte motions, including
Lazar's ex parte motion filed on March 26, 2004 (Doc. No. 22 and
23).

Whitmore further averred that the United States has had no
contact with anyone inside the clerk's office concerning Lazar's ex
parte motions, nor has there been any surreptitious monitoring of
`the defendant or defendant's counsel.

The court is satisfied that the United States (1) has not been
conducting improper surveillance of the defense's privileged

attorney-client communications via telephone or internet, (2) has

3

` 699
Case 2'04-Cr-20017-BBD Document 340 Fl|ed 05/27/05 Page40f5 Page|D

not had an informant working with the defense who has been sharing

confidential information with the government; nor (3) has the

office, the court's staff, or the Magistrate’s staff concerning the
sealed filings. Furthermore, the court finds that the United
States’ knowledge of the contents of Lazar’s ex parte motion was
ascertained through representations Lazar made in his own motion.
Accordingly, the court finds that there has been no violation of
the defendant’s rights under the Fifth or Sixth Amendment of the
United States Constitution.

IT IS SO ORDERED this 27th day Of MaY, 2005.

p@o¢ w A/» me/

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 340 in
case 2:04-CR-20017 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

ENNESSEE

 

Marc N. Garber

THE GARBER LAW FIRM, P.C.
4994 LoWer Roswell Rd.7 NE

Ste. 14

1\/larietta7 GA 30068

Stephen Farese

FARESE FARESE FARESE, PA
122 Church Street

P.O. Box 98

Ashland7 MS 38603

Kevin P. Whitmore

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Cam ToWers J ones

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Peter M. Coughlan

OFFICE OF THE ATTORNEY GENERAL
425 Fifth Ave.7 N.

Nashville, TN 37243--049

Honorable Bernice Donald
US DISTRICT COURT

